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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS



Judy Thomas
Plaintiff

v.                                                                   CIVIL ACTION
                                                                     NO. 1:21-CV-10245-JCB

Jones Day
Defendant




                                   REPORT RE: REFERENCE FOR
                                ALTERNATIVE DISPUTE RESOLUTION

                                     TO JUDGE JENNIFER C. BOAL

[X]    The parties have informed the court that they wish to withdraw their request for ADR at this time
       because they have settled the case on their own.



[ ]    On                    , I held the following ADR proceedings:

                SCREENING CONFERENCE                                EARLY NEUTRAL EVALUATION
                FOLLOWUP CONFERENCE                                 SUMMARY BENCH / JURY TRIAL
                MINI-TRIAL                                           MEDIATION


[ ]    All parties were represented by counsel.
[ ]    The parties were either present in person or represented by counsel.
The case was:
[ ]
[ ]    There was significant progress.
[ ]    Further efforts to settle this case at this time are, in my judgment, unlikely to be productive. This
       case should be restored to your trial list.
[ ]    Suggested strategy to facilitate settlement: await further word from the parties.
[ ]    Other:. _______________________________________________________________


March 10, 2022,                                      /s/ Kenneth P. Neiman
DATE                                                 ADR Provider
                                                     KENNETH P. NEIMAN, U.S. Magistrate Judge
